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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


HE DEPU, et al.,
                                        No. 1:17-0635-RDM
                   Plaintiffs,
                                        Judge Randolph D. Moss
             v.

OATH HOLDINGS, INC., et al.,

                   Defendants.


           DEFENDANTS MICHAEL CALLAHAN, RONALD BELL,
      AND OATH HOLDINGS, INC.’s OPPOSITION TO PRIVILEGE CLAIMS
            REGARDING YAXUE CAO-RITTERS’S DOCUMENTS
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        Defendants Michael Callahan, Ronald Bell, and Oath Holdings, Inc. (the “Yahoo

Defendants”) have a substantial need to obtain purportedly work-product protected documents

exchanged between Plaintiffs and the principal architect of this litigation, Yaxue Cao-Ritter, that

contain facts central to this dispute (“Cao Documents”). 1

        Plaintiffs assert that Ms. Cao was their sole agent and contact, responsible for

understanding their allegations, recruiting participants, translating their communications,

organizing strategy sessions, and explaining to Plaintiffs what they needed to do to bring suit. But

the Yahoo Defendants have learned that, at some point during the course of their relationship, false

and inconsistent information appears to have been exchanged among this group. That information,

in turn, goes to live standing issues. 2 Given Ms. Cao’s central role and the description of the Cao

Documents from Plaintiffs’ privilege logs, those materials should be provided to Defendants.

                                               BACKGROUND

        Dismissing the First Amended Complaint in part, the Court found that “six of the seven

Beneficiary Plaintiffs have not alleged that they have submitted an application for funding that

was denied,” and thus that those Plaintiffs lacked Article III standing, 306 F. Supp. 3d at 191 n.9.

In response, Plaintiffs alleged in the Second Amended Complaint (“SAC”) that they had all applied

for funding. SAC ¶¶ 10-15. However, during his deposition, Plaintiff Ouyang Yi admitted that

the allegation that he “previously applied to and received funding from the Trust,” SAC ¶ 13, was

false. See Ex. 1, Yi Tr. at 29:19 (“I never applied for any fund”), 31:14-21. 3 Despite testifying

that he reviewed and approved of a Mandarin version of the SAC, and that he had no questions



1
  The Yahoo Defendants do not concede that these materials are protected or privileged, and adopt in this respect the
arguments of their Laogai co-Defendants.
2
  As this Court has explained on several occasions, Plaintiffs must prove that they have both Article III and
charitable trust standing. See ECF 41 at n.9; ECF 137 at 41.
3
  Plaintiffs did not object to any of the questions or translations of testimony included in this Opposition.


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after this review (Ex. 1 at 19:6-20:18), Mr. Yi claimed he simply “did not discover the error[s]” in

the only paragraph of the SAC setting forth allegations particular to his claims. 4 Id.

        The Yahoo Defendants also asked Plaintiff Xu Wanping about the factual basis for

charitable trust standing. Mr. Wanping testified that his “main understanding is that the number

of people are quite a lot . . . . There’s quite a lot” of people imprisoned in China for expressing

their views on the internet. Ex. 2, Wanping Tr. 105:21-106:3. As Plaintiffs have argued, their

“understanding” about relevant facts has been filtered through their purported agent, interpreter,

and case architect, Ms. Cao. ECF 150-1 at 3-4 (declaration from Mr. Depu stating that “Ms. Cao

agreed to help us in various ways,” including providing translations, “further investigat[ion] of the

YHRF,” making “suggestions to us on how to proceed” based “on her investigation and inquiries,”

and shifting the “goals” of the lawsuit “based on new facts gleaned from our investigation”).

        Given this, it is unsurprising that the privilege logs produced by Plaintiffs reveal that Mr.

Yi, Mr. Wanping, and other Plaintiffs had regular and repeated discussions with Ms. Cao about

the factual circumstances underpinning their claims. See Ex. 3, Pls. 2/2/23 Priv. Log, Row 25

(email from He Depu to Ms. Cao from December 2015 titled, “The situation of Ouyang Yi and

Yang Zili”); Ex. 4, Pls. 10/4/22 Priv. Log Row 1798-1799 (Mr. Yi requesting corrections to some

unknown document); see generally Ex. 3; Ex. 4.

                                           LEGAL STANDARD

        Rule 26(b)(3)(A) permits a party to discover fact-based attorney work product of another

party if the materials at issue are discoverable under Rule 26(b)(1) and the moving party has a

substantial need for the materials to prepare its case and cannot, without undue hardship, obtain



4
  Mr. Yi confirmed the SAC also erroneously asserts that he was released from prison in 2006, when in fact he was
released from prison in 2004. The issue of when certain Plaintiffs were released from prison is also dispositive of
certain Plaintiffs’ causes of action. ECF 139.


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those materials by other means. Under Rule 26(b)(3)(a), a moving party meets its burden “if it

demonstrates that the materials are relevant to the case, the materials have a unique value apart

from those already in the movant’s possession, and ‘special circumstances’ excuse the movant’s

failure to obtain the requested materials itself.” F.T.C. v. Boehringer Ingelheim Pharms., Inc., 778

F.3d 142, 155 (D.C. Cir. 2015). “[N]o heightened showing of relevance is required” to obtain

factual work product. And, because “fact work product that is unavailable elsewhere may be

discovered if it is admissible or could ‘give clues as to the existence or location of relevant facts,’”

the required Rule 26(b)(3)(A) showing is “remarkably similar to the relevance standard under Rule

26(b)(1).” Id. at 156 (quoting Hickman v. Taylor, 329 U.S. 495, 511 (1947)). “Indeed, a mere

relevance requirement is consonant with Hickman’s statement that ‘[m]utual knowledge of all the

relevant facts gathered by both parties is essential to proper litigation.’” Id.

                                                ARGUMENT

        The Cao Documents concern the basis of Plaintiffs’ claims, their understanding of relief

sought and who might be eligible to receive funds from the Fund, the questions Plaintiffs and Ms.

Cao had in purportedly anticipating and preparing for suit, corrections to litigation-related

documents, and whether Plaintiffs actually applied to the Fund. See ECF 150 at 3-4 (explaining

that parties agreed with Cao that “their main goal was not to obtain damages payable to the

plaintiffs personally”) 5; Ex. 3, Row 55 (12/15 email titled, “A private question” from Ms. Cao to

Mr. Depu), Row 67 (01/16 email titled “Fwd_Application received” from Mr. Depu to Ms. Cao);

Ex. 4, Row 1798-1799 (corrections made by Mr. Yi). They are thus relevant.

        The Cao Documents have unique value apart from those in the Yahoo Defendants’

possession. Regarding Article III standing, Ms. Cao must have communicated with Plaintiffs


5
 Here again, Mr. Yi testified in part to the contrary. Ex. 1 at 59:17-60:3 (“First I would like to get my deserved
compensation. . . . . Q: So you are seeking money damages from the defendants in this case? A: Yes; I need that.”).


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about two things that were false: first, that Mr. Yi applied to the fund (he did not); and second, that

Mr. Yi was released from prison in 2006 (it was 2004). These are the sort of factual matters

addressed in the Cao Documents. See Ex. 4, Rows 180-220, 267-285, 644-664, 834-864, 1798-

1799.

        With respect to charitable trust standing, Mr. Wanping testified his “understanding” of the

number of individuals imprisoned in China—a key part of the beneficiary criteria, and a fact

directly tied to charitable trust standing—was “quite a lot,” while Mr. Yi could not venture a guess.

See Ex. 2 at 105:21-106:3; Ex. 1 at 53:7-19. Here, too, the Cao Documents also appear to discuss

the basis of Plaintiffs’ understanding in this respect. See Ex. 3, Row 109 (“communication on

legal research” discussing alleged fraud related to “charitable assets”).

        Finally, the Cao Documents are the only source of information related to the accuracy of

alleged facts provided by Plaintiffs to Ms. Cao for use in Plaintiffs’ pleadings, and the only source

of information related to Plaintiffs’ understanding of the factual basis supporting their claim to

have charitable trust standing. No other documents—not even the SAC—reflect the filter through

which these understandings (which in two key respects are incorrect or inconsistent) were reached.

        This Court and others have found substantial need and undue hardship under similar

circumstances. Mize v. Kai, Inc., No. 17-CV-00915-NYW, 2018 WL 1035084, at *8–9 (D. Colo.

Feb. 23, 2018) is on point. There, the defendant sought communications between plaintiff and its

non-attorney agent. The court determined that the defendant met its burden, explaining that the

communications addressed the circumstances surrounding plaintiff’s “injury-in-fact,” which

impacted “[p]laintiff’s standing to bring this action . . . and, in turn, this court’s subject matter

jurisdiction—an issue that this court has an independent obligation to consider even if no party

raises it.” Id. at *5. In other words, “communications between [p]laintiff (and her representatives)




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with [the third party] are relevant because they may reveal facts pertaining to [p]laintiff’s standing

to bring this action,” that “there is a substantial need for the production of communications”

between the plaintiff and the third party, and that the defendant “cannot obtain the substantial

equivalent by other means.” Id. at *9; see also U.S. ex rel. Westrick v. Second Chance Body Armor,

Inc., 288 F.R.D. 222, 227 (D.D.C. 2012).

       The same is true here. The Cao Documents relate to key issues of Article III and charitable

trust standing, as Ms. Cao is asserted to have been the sole agent communicating with Plaintiffs

about the factual basis for their claims. The Yahoo Defendants have raised legitimate grounds to

question how those exchanges affected the accuracy of “injury in fact” allegations in the SAC, as

well as Plaintiffs’ understanding of facts affecting charitable trust standing. Protection of the Cao

Documents will impede the Yahoo Defendants’ efforts to defend this case on even footing. See

Boehringer Ingelheim, 778 F.3d at 156 (Rule 26(b)(3)(A) “requires a careful examination of

whether non-disclosure will impair the truth-seeking function of discovery.”)

       Depositions are no adequate remedy. As this Court explained in granting another request

for disclosure of work product materials based on substantial need, “[w]hile the recipients of the

documents at issue could be asked what they were told to do and what they were told to preserve,

their recollection is no substitute for the contemporaneous direction they received, as

memorialized in these documents. The recipients may in fact have no recollection of the

documents, and then we would be back where we started.” Chang v. United States, No. CV 02-

2010 (EGS/JMF), 2010 WL 11591197, at *4 (D.D.C. Aug. 19, 2010).

                                          CONCLUSION

       This Court should order Plaintiffs to disclose the Cao Documents to Defendants.




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Dated: February 9, 2023              Respectfully submitted,

                                     McGuireWoods LLP

                                     /s/ Brandi G. Howard
                                     Brandi G. Howard (D.C. Bar 156135)
                                     888 16th Street, NW
                                     Suite 500
                                     Black Lives Matter Plaza
                                     Washington, DC 20006
                                     Telephone: (202) 857-1700
                                     bhoward@mcguirewoods.com

                                     Brian E. Pumphrey (admitted pro hac vice)
                                     Garrett H. Hooe (admitted pro hac vice)
                                     800 East Canal Street
                                     Richmond, VA 23219
                                     Telephone: (804) 775-7745
                                     bpumphrey@mcguirewoods.com
                                     ghooe@mcguirewoods.com

                                     Counsel for Defendant Oath Holdings, Inc.,
                                     Ronald Bell, and Michael Callahan




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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 9, 2023, the foregoing document were served via email

to the following:


 NORTH RIVER LAW PLLC                              IMPRESA LEGAL GROUP
 Times Wang (D.C. Bar 1025389)                     George E. Kostel (D.C. Bar 1000015)
 1300 I Street NW, Suite 400E                      David I. Bledsoe (D.C. Bar 422596)
 Washington, DC 20005                              3033 Wilson Boulevard, Suite 700
 Telephone: (202) 838-6489                         Arlington, VA 22201
 twang@northriverlaw.com                           Telephone: (703) 842-0660
                                                   georgekostel@impresalegal.com
 SLARSKEY LLC                                      davidbledsoe@impresalegal.com
 David Slarskey, Esq.
 Evan Fried, Esq.                                  LAW FIRM OF WILLIAM BLAKELY
 420 Lexington Ave., Suite 2525                    William Douglas Blakely (D.C. Bar 326793)
 New York, NY 10170                                10908 Thimbleberry Ln
 Telephone: (212) 658-0661                         Great Falls, VA 22066
 dslarskey@slarskey.com                            Telephone: (703) 430-4398
 efried@slarskey.com                               wblakely@williamblakelylaw.com
 Counsel for Plaintiffs
                                                   Counsel for Defendants Laogai Research
PERRY CHARNOFF PLLC                                Foundation and
Mikhael D. Charnoff (D.C. Bar 476583)              Laogai Human Rights Organization
Scott Michael Perry (D.C. Bar 459841)
Anastasia Uzilevskaya (D.C. Bar 1620214)
1010 N. Glebe Road, Suite 310
Arlington, VA 22201
Telephone: 703-291-6650
mike@perrycharnoff.com
scott@perrycharnoff.com
anastasia@perrycharnoff.com
Counsel for Defendant Estate of Harry Wu




                                                     /s/ Brandi G. Howard
                                                     Brandi G. Howard




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